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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Jim Rose, et al.,               Case Number: 1:22-cv-06099
                 v.
            Mercedes-Benz USA, LLC, et al.
An appearance is hereby filed by the undersigned as attorney for:
                                        Plaintiff Jim Rose and the Putative Class
Attorney name (type or print):David C. Wright

Firm: McCune Law Group

Street address: 3281 E. Guasti Road, Suite 100

City/State/Zip: Ontario, California 91761

Bar ID Number: 177468                                      Telephone Number: 909-557-1250
(See item 3 in instructions)

Email Address: dcw@mccunewright.com

Are you acting as lead counsel in this case?                                    x    Yes           No

Are you acting as local counsel in this case?                                        Yes       x No

Are you a member of the court’s trial bar?                                           Yes        x No
If this case reaches trial, will you act as the trial attorney?                      Yes       x No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on        February 2, 2023

Attorney signature:            S/ David C. Wright
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
